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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:13-CR-257-LDG-(PAL)
                                                      )
11 SAUL CANDELORIO GASTELLUM-                         )
   SANCHEZ,                                           )
12 a.k.a. Cervancio Perez-Zazueta,                    )
   a.k.a. Bartolo Castillo,                           )
13 a.k.a. “Vampiro”,                                  )
                                                      )
14                         Defendant.                 )
15                                      FINAL ORDER OF FORFEITURE

16           On May 28, 2014, the United States District Court for the District of Nevada entered a

17 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 21, United States

18 Code, Section 853(a)(1) and 853(a)(2); Title 18, United States Code, Section 981(a)(1)(C) with Title

19 28, United States Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(1) based

20 upon the plea of guilty by defendant SAUL CANDELORIO GASTELLUM-SANCHEZ, a.k.a.

21 Cervancio Perez-Zazueta, a.k.a. Bartolo Castillo, a.k.a. “Vampiro”, to the criminal offense, forfeiting

22 the property set forth in the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment

23 and shown by the United States to have the requisite nexus to the offense to which defendant SAUL

24 CANDELORIO GASTELLUM-SANCHEZ, a.k.a. Cervancio Perez-Zazueta, a.k.a. Bartolo Castillo,

25 a.k.a. “Vampiro”, pled guilty. Criminal Indictment, ECF No. 24; Change of Plea, ECF No. 127; Plea

26 Agreement, ECF No. 128; Preliminary Order of Forfeiture, ECF No. 129.
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 1            This Court finds the United States of America published the notice of forfeiture in accordance

 2 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

 3 from May 31, 2014, through June 29, 2014, notifying all potential third parties; and notified known

 4 third parties by personal service or by regular mail and certified mail return receipt requested, of their

 5 right to petition the Court. Notice of Filing Proof of Publication, ECF No. 137.

 6            On June 18, 2014, the United States Marshals Service personally served Saul Candelorio

 7 Gastellum-Sanchez with copies of the Preliminary Order of Forfeiture and the Notice. Notice of

 8 Filing Service of Process – Personal Service, ECF No. 138, p. 2-8.

 9            On June 18, 2014, the United States Marshals Service personally served Jose Flores with

10 copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of Process –

11 Personal Service, ECF No. 138, p. 9-15.

12            On June 18, 2014, the United States Marshals Service personally served Samuel Alfonso

13 Flores with copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of

14 Process – Personal Service, ECF No. 138, p. 16-22.

15            On June 18, 2014, the United States Marshals Service personally served Carlos Leos with

16 copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of Process –

17 Personal Service, ECF No. 138, p. 23-29.

18            On June 17, 2014, the United States Marshals Service personally served Robert M.

19 Draskovich, Jr., Attorney for Saul Candelorio Gastellum-Sanchez with copies of the Preliminary Order

20 of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 138,

21 p. 30-36.

22            On June 17, 2014, the United States Marshals Service personally served Chris Allen Aaron,

23 Attorney for Jose Flores with copies of the Preliminary Order of Forfeiture and the Notice. Notice of

24 Filing Service of Process – Personal Service, ECF No. 138, p. 37-43.

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 1            On June 17, 2014, the United States Marshals Service personally served James A. Oronoz,

 2 Attorney for Samuel Alfonso Flores with copies of the Preliminary Order of Forfeiture and the Notice.

 3 Notice of Filing Service of Process – Personal Service, ECF No. 138, p. 44-50.

 4            On June 18, 2014, the United States Marshals Service personally served David R. Fischer,

 5 Attorney for Carlos Leos with copies of the Preliminary Order of Forfeiture and the Notice. Notice of

 6 Filing Service of Process – Personal Service, ECF No. 138, p. 51-57.

 7            On June 10, 2014, the United States Marshals Service attempted service on Guadalupe

 8 Arellano-Mendoza with copies of the Preliminary Orders of Forfeiture and the Notice, but were unable

 9 to locate her. Notice of Filing Service of Process – Personal Service, ECF No. 138, p. 58-82.

10            This Court finds no petition was filed herein by or on behalf of any person or entity and the

11 time for filing such petitions and claims has expired.

12            This Court finds no petitions are pending with regard to the assets named herein and the time

13 for presenting such petitions has expired.

14            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

15 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

16 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

17 32.2(c)(2); Title 21, United States Code, Section 853(a)(1) and 853(a)(2); Title 18, United States

18 Code, Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United States

19 Code, Section 982(a)(1); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of

20 according to law:

21            $763 in United States Currency.

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

23 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

24 income derived as a result of the United States of America’s management of any property forfeited

25 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

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 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.

 3          DATED this ___ day of April, 2015.

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                                                  UNITED STATES DISTRICT JUDGE
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                                                  LLOYD D. GEORGE
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